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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

ROTHSCHILD BROADCAST                  §
DISTRIBUTION SYSTEMS, LLC,            §
                                      §
      Plaintiff,                      §                     Case No: 1:20-cv-00391-MN
                                      §
vs.                                   §                     PATENT CASE
                                      §
AMC PREMIERE LLC,                     §
                                      §
      Defendant.                      §
_____________________________________ §

               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff Rothschild Broadcast Distribution Systems, LLC hereby files this Notice of

Voluntary Dismissal With Prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).

According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff without order of

court by filing a notice of dismissal at any time before service by the adverse party of an answer.

Accordingly, Rothschild Broadcast Distribution Systems, LLC hereby voluntarily dismisses this

action against AMC Premiere LLC with prejudice, pursuant to Rule 41(a)(1)(A)(i) with each

party to bear its own fees and costs.

Dated: August 5, 2020                                Respectfully submitted,
                                             /s/Jimmy Chong
                                             JIMMY CHONG, ESQ. (#4839)
                                             CHONG LAW FIRM
                                             2961 Centerville Rd.
                                             Ste 350
                                             Wilmington, DE 19808
                                             (215) 909-5204
                                             chong@chonglawfirm.com

                                             ATTORNEYS FOR PLAINTIFF


SO ORDERED, this ___________ day of ________________, 2020.
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                                 ____________________________________
                                 Judge - United States District Court
